
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-109-CV



IN THE INTEREST OF S.C.W., MINOR CHILD



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FROM THE 393
RD
 DISTRICT 
COURT OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Withdraw Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the appellant, for which let execution issue.

PER CURIAM

PANEL D:	HOLMAN, GARDNER, and WALKER, JJ.



DELIVERED: June 1, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




